Case 2:05-cr-20122-SH|\/| Document 32 Filed 06/20/05 Page 1 of 3 Page|D 34

 

 

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w.o. QHNNBEWHPrEs oF AMERICA, ' W'O m TN' ""EM"*'"S 5
Plaintiff,
VS. NO: OS-ZOIZZ-DV
BRENDA COLBERT, 7 ` '
Defendant.
MOTION TO CONT]NUE

 

COMES NOW Defendant, Brenda Colbert, by and through his attorney of record, and
moves this Honorable Court , pursuant to Rule 45 of the Federal Rules of Criminal Procedure, to

continue the suppression hearing, which is set on June 20, 2005. ln support thereof, Defendant

would respectfully show as follows:

l. Defendant has entered into negotiations with the Government towards resolving
this case.
2. A continuance is necessary to not only to allow for additional preparation but also

to explore the extent of Defendant’s negotiations with the Govemment.
3. If an acceptable resolution is agreed upon, the hearing.on the Motion to Suppress
will be unnecessary ‘
4. Assistant United States Attorn_ey, Torn Colthurst, has been consulted with
regarding this motion and does not oppose same.

5. The time period required to accomplishMtlS§c_>i%oidg¢`s§xAlwz|bquder 18

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With Rule :L:- ami/or 32{\3) FHCrP On ' ' _ U_S. D`STRICT JuDGE

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U.S.C. §3161 (h) (8) (B) (iv);- and (h) (2) - allow defense attorney time to prepare and for the
purpose of allowing Defendant the opportunity to demonstrate good conduct
WHEREFORE, PREMISES CONSIDERED, Defendant respectfully requests

that this Honorable Court continue the present June 20, 2005 suppression hearing date, as good

Res thllly submitt$d,; !
\/\ /)/

cause has been shown.

 

cRAIG v. MORTON (14969) '
Attorney for Defendant

200 Jefferson Avenue, Suite 725
Memphis, TN 38103

(901) 522-0050

CERTIFICATE OF SERVICE

I certify that a copy of the foregoing was furnished to Torn Colthurst, Assistant United
States Attorney at the F ederal Ot`fice Building, 167 N. Main Street,`Memphis, Tennessee 38103

on June 17, 2005. ~ \/ M%
I'

 

CRAIG V. MORTON

UNITD sATES DISTRIC COURT - ESTERN DISITRCT OF TENNESSEE

     

Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 2:05-CR-20122 Was distributed by faX, mail, or direct printing on
June 2l , 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

